                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:04 CV 234-MU

BURTON A. GELLMAN and THE           )
GELLMAN CORPORATION                 )
                                    )
      Plaintiffs,                   )
                                    )
vs.                                 )                        ORDER
                                    )
THE CINCINNATI INSURANCE            )
COMPANY                             )
                                    )
      Defendant.                    )
____________________________________)

       THIS MATTER is before the Court on its own motion. In light of the recent stipulations

filed by the parties (Document #57), it is hereby ordered that:

       The Parties submit their supporting briefs on or before March 7, 2008.

       The Parties reply to the opposing briefs on or before March 21, 2008

       It is further ordered that Defendant’s Motion for Summary Judgment (Document #49) is

DENIED as MOOT.



                                                 Signed: January 31, 2008




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